      Case 4:23-cv-03958       Document 25         Filed on 11/08/24 in TXSD           Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 WILLIAM KEITH SPEER,                                  §
 Plaintiff,                                            §
                                                       §     CASE NO. 4:23-cv-3958
 v.                                                    §
                                                       §
 BOBBY LUMPKIN, Director,                              §
 Correctional Institutions Division, Texas Dept.       §     THIS IS A CAPITAL CASE
 of Criminal Justice;                                  §
                                                       §
 KELLY STRONG, Warden,                                 §
 Texas State Penitentiary Huntsville Unit;             §
                                                       §
 BRYAN COLLIER, Executive Director,                    §
 Texas Dept. of Criminal Justice;                      §
                                                       §
 Defendants.                                           §


  JOINT ADVISORY REGARDING THE STATUS OF STATE COURT LITIGATION
        On February 13, 2024, the Court stayed this case pending resolution of parallel state court

proceedings that raise issues similar to those in this lawsuit. Order, ECF No. 22. The Court ordered

the parties to file a joint advisory regarding the status of the appeal every 90 days. The parties last

filed a joint advisory on August 12, ECF No. 24, and now file this Joint Advisory.

        Speer’s appeal from the denial of his state habeas petition concerning lethal injection

remains pending before the Texas Court of Criminal Appeals. See Ex parte Speer, No. AP-77,119

(Tex. Crim. App.), https://search.txcourts.gov/Case.aspx?cn=AP-77,119&coa=coscca.

                                                           Respectfully submitted,

                                                           Maureen Scott Franco
                                                           Federal Public Defender
                                                           Western District of Texas

                                                           /s/ Joshua Freiman
                                                           Joshua Freiman
                                                           Fed Bar No. 3342395

                                                   1
Case 4:23-cv-03958      Document 25       Filed on 11/08/24 in TXSD      Page 2 of 2




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